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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   DELTA DIVISION

SANDRA ATWATER, Guardian of the
Person and Estate of KENNY WARREN
GRADY, II, on behalf of herself and KENNY
WARREN GRADY, II, an incompetent person                                      PLAINTIFFS


V.                                  CASE NO. 2:19CV158 JM


VANESSA BRAYBOY, Individually and in her
Official Capacity as an Officer with the Forrest
City Police Department; FORREST CITY
POLICE DEPARTMENT; and FORREST CITY, ARKANSAS                               DEFENDANTS


                                             ORDER

       Pending is the parties’ joint motion to dismiss, docket # 14. The motion is GRANTED.

This case is hereby dismissed with prejudice. The Clerk is directed to close the case.

       IT IS SO ORDERED this 12th day of January, 2021.



                                                     __________________________________
                                                     James M. Moody Jr.
                                                     United States District Judge
